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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)



UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
                                                   )
       v.                                          )      Case No.: 18-cr-00157-TDC
                                                   )
LEE ELBAZ,                                         )
a/k/a LENA GREEN,                                  )
                                                   )
               Defendant.                          )
                                                   )


                            MOTION TO SUBSTITUTE COUNSEL

       Undersigned counsel hereby moves this Court to allow Barry J. Pollack and the firm

Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP to substitute as counsel for Quinn

Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) on behalf of Defendant Lee Elbaz.

Quinn Emanuel filed a Motion to Withdraw as Attorney on December 11, 2018. See Docket

Entry 91. Quinn Emmanuel filed a Motion for a Continuance, filed on December 14, 2018. See

Docket Entry 98. The Court denied that motion in part. See Docket Entry 103. In light of the

pending motion for substitution of counsel and for the reasons previously discussed on the

record, Ms. Elbaz respectfully asks the Court to continue the trial date and to schedule the matter

for a status conference to reset deadlines in the case.




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Dated: December 18, 2018                  Respectfully Submitted,

                                                 /s/
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                                          Attorneys for Lee Elbaz




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on December 18, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will notify counsel of record of this

filling.




                                                        /s/
                                                 Barry J. Pollack
